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                         UNITED STATES DISTRICT COURT
                                 District of Maine

RICHARD E. KAPLAN          )
                           )
     Plaintiff,            )
                           )                                No. 1:05-cv-144-DBH
v.                         )
                           )
FIRST HARTFORD CORPORATION )
AND NEIL ELLIS,            )
                           )
     Defendants.           )

                              ORDER ON BILL OF COSTS


       Prevailing parties are entitled to move for an award of costs pursuant to

Federal Rule of Civil Procedure 54(d)(1), which provides in pertinent part: “[u}nless

a federal statute, these rules, or a court order provides otherwise, costs . . .should be

allowed to the prevailing party.” As determined by the Court and affirmed on

appeal, Plaintiff is the prevailing party in this case. Those expenses that may be

taxed are specified in 28 U.S.C. § 1920, but the costs must be “necessarily incurred

in the case,” pursuant to 28 U.S.C. § 1924. Plaintiff seeks costs in the total amount

of $6,083.47 for fees of the Clerk, transcript fees, and printing costs. Having made

an independent review of Plaintiff’s Bill of Costs and there being no objection to the

bill by the Defendants1, the Clerk of Court hereby taxes costs against Defendants in

the total amount of five thousand, nine hundred and one dollars and seventy-seven

cents ($5,901.77).




1See Defendants’ Opposition to Plaintiff Richard E. Kaplan’s Renewed Request for Sanctions
Against Defendants of Reasonable Attorney’s Fees, (Docket No. 293) at Footnote 1.
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Transcript Delivery Costs

      Transcript fees are taxable to the extent that they were “necessarily obtained

for use in the case.” 28 U.S.C. § 1920(2). In this case, the deposition transcripts

claimed were necessarily obtained in that they were used during the litigation of

this case. However, postage, emailing, shipping and handling costs for the delivery

of depositions are considered ordinary business expenses that may not be charged

as taxable costs in relation to obtaining transcripts. Alexander v. CIT Technology

Financing Services, Inc., 222 F. Supp. 2d 1087 (N.D. Ill. 2002). See also Maurice

Mitchell Innovations, L.P. v. Intel Corp., 491 F.Supp.2d 684 (E.D. Tex. 2007) and

Treaster v. HealthSouth Corp., 505 F.Supp.2d 898 (D. Kan., 2007). Thus, Plaintiff’s

costs for the deposition transcripts will be reduced by a total of $174.20, the amount

of the handling and delivery charges associated with the depositions of Patricia

McGowen ($45 for FedEx), Stuart Greenwald ($8.50 for delivery and $123.50 for

“admin fee” and DHL delivery), Timothy J. Riddiough ($10 for deliver), and Nancy

Fannon ($7.20 for mailing).

Fees for Copies Trial Exhibits

      Plaintiff seeks reimbursement for costs of printing trial exhibits in the

amount of $2,232.24. The prevailing party is entitled to recover statutorily

authorized costs for photocopying under 28 U.S.C. § 1920(4), as long as the costs

were “necessarily obtained for use in the case” and were “reasonably necessary to

the maintenance of the action” or furnished to the Court and opposing counsel.

Rodriguez-Garcia v. Davila, 904 F.2d 90, 100 (1st Cir. 1990) and Simmons v.

O’Malley, 235 F. Supp. 2d 442 (D. Md., 2002). In this case, the Plaintiff seeks
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reimbursement of this expense because they were exhibits used at trial and

furnished to opposing counsel. The Clerk will tax costs in favor of the Plaintiff;

however, the delivery cost of seven dollars and fifty cents ($7.50) is considered an

ordinary business expense incurred in for the convenience of counsel and not a

taxable cost. See Osorio v. One World Technologies, Inc. 2011 WL 5835778 (D.

Mass. 2011) and U.S. v. Davis, 87 F. Supp. 2d 82, 89 (D. R.I. 2000) (concluding that

expenses for postage and shipping are not recoverable under 28 U.S.C. § 1920).

                                        ORDER

      The Clerk of Court hereby taxes against Defendants all claimed costs but for

the transcript and printing delivery/administrative costs in the total amount of five

thousand, nine hundred and one dollars and seventy-seven cents ($5,901.77).


IT IS SO ORDERED.

                                                     /s/ Christa K. Berry
                                                     Clerk, U.S. District Court


Dated this 10th day of February 2012
